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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISIONt

 JUSTIN GUY, individually and on
 behalf of those similarly situated,

       Plaintiff,
 v.                                          Case No. 20-cv-12734-MAG-EAS
                                             HON. MARK A. GOLDSMITH
 ABSOPURE WATER COMPANY, LLC
 a domestic limited liability company,

      Defendant.
 __________________________________________________________________
             DEFENDANT’S MEMORANDUM OBJECTING TO
         PLAINTIFFS’ DE BENE ESSES DEPOSITION DESIGNATIONS
              AND MAKEING ADDITIONAL DESIGNATIONS

       NOW COMES Defendant Absopure Water Company. LLC (“Absopure”), by

 and through its attorneys, CUMMINGS, MCCLOREY, DAVIS & ACHO, PLC, by

 RONALD G. ACHO and MICHAEL O. CUMMINGS, and pursuant to the Court’s

 Order (Dkt. 191) hereby submits its Memorandum objecting to Plaintiffs’

 designations of the de bene esse deposition of Trevor Rogers (Dkt. 203) and making

 its additional designations.




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 I.    PLAINTIFFS’ DE BENE ESSE DEPOSITION DESIGNATIONS ARE
       OF NO PROBATIVE VALUE AND WILL CAUSE SEVERE
       PREJUDICE

       Plaintiffs have no legitimate reason to present the testimony of J.B. Hunt’s

 corporate representative at trial. It is no more than a cynical exercise to mislead the

 jury by putting out the word “shipper” to the jury multiple times and overwhelming

 them with extraneous details so as to make the relationship between Mountain

 Valley and J.B. Hunt appear much more important in the MCA exemption analysis

 than it really is. It is of minimal probative value and certain to cause prejudice,

 mislead and confuse the jury, and waste time – none of which can be corrected by

 any limiting instruction. See Fed. R. Evid. 403.

       As this Court has noted, a key part of the MCA exemption analysis is

 identifying the “shipper”, which the Court characterized as “the entity that

 functionally plays the most significant role in directing and controlling the

 transportation of goods.” (Dkt. 70, PageID 4503).

       J.B. Hunt sometimes uses the word “Shipper” to refer to Mountain Valley.

 (Dkt. 203-1, Rogers Tr. 23:22-23. However, J.B. Hunt’s use of this word "shipper”

 has absolutely nothing to do with the term “shipper” that is used in the case law

 regarding the MCA exemption. (Dkt. 203-1, Rogers Tr. Vol. I, pp. 23:22-23:10;

 89:8-89:14; and Dkt. 203-2, Rogers Tr. Vol. II, pp127:4-25; 129:6-130:20; 134:13-




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 136:11, 176:14-177:4)1. It merely means whomever J.B. Hunt happens to pick up

 loads from. Id. Nevertheless, Plaintiffs propose to throw out J.B. Hunt’s irrelevant

 use of this “shipper” term in front of the jury dozens of times. (Compare Dkt. 203,

 PageID.8970 to Dkts. 203-1, PageID.9112 and 203-2, PageID.9211-9212). This will

 lead to incurable prejudice, confusion and misleading of the jury.

        As the Seventh Circuit noted in Collins, performing a multi-factor analysis for

 issue of MCA exemption “interstate commerce” issue is already highly confusing,

 even for judges:

        Attempting to base decision on seventeen unweighted technical criteria
        to be applied by generalist judges who are not told what the relevance
        of any of the criteria is but have to figure it out for themselves is
        unlikely to improve the prospects for objectively deciding whether a
        particular intrastate shipment should be deemed to be “in commerce.”
        The multicriteria approach is likely to condemn the judges to wander
        forlornly in the untracked wilderness named “the totality of the
        circumstances,” a phrase found in many of the cases involving the
        Motor Carrier Act’s exemption for interstate transportation.

 Collins v. Heritage Wine Cellars, Ltd., 589 F.3d 895, 899 (7th Cir. 2009).

        On top of this general confusion, there is further confusion caused by cases

 and regulations differing on what role the identification of the “shipper” actually

 plays in the analysis. (See Dkt. 70, PageID.4501-4502 (discussing the questions of

 whether “shipper”, “importer”, and/or “employer” are significant)).




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   Absopure also attaches hereto Volumes I and II of the Rogers deposition as Exhibits 1 and 2,
 respectively.
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       Plaintiffs proposed testimony throwing out the term “shipper” with a

 completely different meaning does nothing more than add a third layer of fuel on

 this already raging fire of confusion. Attempting to cure this with yet one more jury

 instruction (on top of all the others that need to be given for the term “shipper”)

 would be completely ineffectual. See United States v. Asher, 910 F.3d 854, 862 (6th

 Cir. 2018) (“sometimes evidence is so prejudicial that the risk of a jury's improper

 use of the evidence cannot be quashed by a judge's instructions”). This is clearly the

 case here. There is overwhelming danger that Plaintiffs proposal to bombard the

 jury with the term “shipper” will lead to “unfair prejudice, confusing the issues, [and]

 misleading the jury.” Fed. R. Evid. 403. This exclusion should also apply to Mr.

 Rogers’ declaration and the services contract between Mountain Valley and J.B.

 Hunt, which likewise use the misleading term “shipper”.

       Not only the term “shipper”, but all of Mr. Roger’s proposed testimony should

 be excluded under F.R.E. 403. It is undisputed that at least seven different steps

 performed by three different entities – Absopure, Mountain Valley, and J.B. Hunt –

 together constitute the entire process of “directing and controlling the transportation”

 of the products that Absopure purchases from Mountain Valley.               (Dkt. 117,

 PageID.4820-24; Dkt. 117-3, PageID.4835-4837). Just one of those several steps

 involves Mountain Valley telling the common carrier, J.B. Hunt, when J.B. Hunt

 should provide a truck to transport products ordered by Absopure to its warehouse

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 in Michigan. (Dkt. 117, PageID.4823-4824). Again, this one step of many is

 undisputed and Absopure testified to it early in the case. (Id.)

        This basic fact is all that should be needed for an analysis of the MCA

 exemption. Further details – the procedures for how Mountain Valley communicates

 trucking requirements to J.B. Hunt, how many trucks J.B. Hunts uses for Mountain

 Valley, truck loading details, the extent of the relationship between the two parties,

 how long the relationship has existed, the terms of any contract between them, etc.,

 etc. – are of no or very minimal relevance. Plaintiffs propose hundreds of lines of

 testimony going over and over all of this extraneous detail. (Dkt. 203, PageID.8970).

        This massive over-emphasis on just a single part of the process – a part that is

 already undisputed – will have the effect of magnifying this one small part to make

 it seem much more important than all the other parts. Not only will this lead to

 “unfair prejudice, confusing the issues, [and] misleading the jury”, it will also

 constitute “undue delay, wasting time, [and] needlessly presenting cumulative

 evidence.” Fed. R. Evid. 403.2

        Absopure, therefore, respectfully requests this Honorable Court to exclude the

 entirety of Plaintiffs’ proposed de bene esse deposition testimony or, in the




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   Practically, if all of this testimony is allowed, Absopure will need to put in at least an hour of
 testimony for each of the other six steps, going into every imaginable extraneous detail, to
 balance out Mr. Rogers’ testimony, in addition to several hours on warehouse procedures and
 projecting customer demand.
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 alternative, exclude all use of the term “shipper”, including uses in the deposition

 exhibits such as Mr. Rogers’ declaration and the services contract between Mountain

 Valley and J.B. Hunt.


 II.   ABSOPURE’S ADDITIONAL DEPOSITION DESIGNATIONS

       Attached hereto as Exhibit 1 is the de bene esse deposition transcript for

 Trevor Rogers taken on November 21, 2023 (Volume I). Also attached hereto as

 Exhibit 2 is the de bene esse deposition transcript for Trevor Rogers taken on

 November 22, 2023 (Volume II). Absopure’s designated transcript sections are

 highlighted in each of these exhibits.

       As noted above in Section I, Absopure believes the entire deposition should

 be struck because it is irrelevant and any probative value is heavily outweighed by

 severe prejudice. However, should the Court allow some or all of Plaintiffs’

 designated testimony, Absopure hereby makes the following designations in

 addition to Plaintiffs’ designations allowed by the Court:

       Volume I (pages 1-115)

       Pages and lines: 27:20-28:14; 29:7-20; p. 34:7-9; 35:19-21; 36:1-11; 38:21-

 39:6; 41:14-42:7; 42:10-13; 47:1-6; 52:25-53:12; 54:19-24; 58:21-59:1; 60:22-

 61:17; 62:22-63:10: 88:14-90:14; 91:17-92:12; 92:24-94:5; 95:7-14; 96:4-97:1;

 102:5-17; 106:19-23; 108:2-109:8; 109:17-110:20.



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       Volume II (pages 116-190)

       Pages and lines: 166:4-19; 168:2-17; 168:20-169:18; 170:8-12; 172:3-13;

 173:4-15; 174:6-13; 176:3-177:4

 Respectfully submitted,

 Dated: November 29, 2023

 s/ Ronald G. Acho                        /s/ Michael O. Cummings
 Ronald G. Acho                           Michael O. Cummings
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                          LOCAL RULE CERTIFICATION

       I, Michael O. Cummings, certify that this document complies with Local Rule

 5.1(a), including: double-spaced (except for quoted materials and footnotes); at least

 one- inch margins on the top, sides, and bottom; consecutive page numbering; and

 type size of all text and footnotes that is no smaller than 10-1/2 characters per inch

 (for non-proportional fonts) or 14 point (for proportional fonts). I also certify that it

 is the appropriate length. Local Rule 7.1(d)(3).

 Dated: November 29, 2023

                                   /s/ Michael O. Cummings
                                   Michael O. Cummings
                                   Cummings, McClorey, Davis & Acho, P.C.
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                           CERTIFICATE OF SERVICE

       I hereby certify that on November 29, 2023, I electronically filed the foregoing

 paper with the Clerk of the Court using the ECF system, which will send notification

 to all parties of record. I hereby certify that I have mailed by United States Postal

 Service the paper to the following non-ECF participants: None.

 Dated: November 29, 2023

                                 /s/ Michael O. Cummings
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